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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                     Plaintiff,

        v.                                          Crim. Action No.: 1:21CR55
                                                                  (Judge Kleeh)

CHAD PERKINS,

                     Defendant.

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 19],
         ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On October 15, 2021, the Defendant, Chad Perkins (“Perkins”),

appeared before United States Magistrate Judge Michael J. Aloi and

moved for permission to enter a plea of GUILTY to Count One of the

Information,         charging           him      with     Unlawful        Possession    of

Firearm/Ammunition, in violation of Title 18, United States Code,

Sections         922(g)(1)        and   924(a)(2).        Perkins     stated    that    he

understood that the magistrate judge is not a United States

District Judge, and Perkins consented to pleading before the

magistrate judge.          This Court referred Perkins’s plea of guilty to

the    magistrate      judge        for    the    purpose    of     administering      the

allocution, pursuant to Federal Rule of Criminal Procedure 11,

making       a   finding     as    to     whether   the    plea     was    knowingly   and

voluntarily entered, and recommending to this Court whether the

plea should be accepted.
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      Based upon Perkins’s statements during the plea hearing, and

the Government’s proffer establishing that an independent factual

basis for the plea existed, the magistrate judge found that Perkins

was competent to enter a plea, that the plea was freely and

voluntarily given, that Perkins was aware of the nature of the

charges against him and the consequences of his plea, and that a

factual basis existed for the tendered plea.         The magistrate judge

issued a Report and Recommendation Concerning Plea of Guilty in

Felony Case (“R&R”) [Dkt. No. 19] finding a factual basis for the

plea and recommending that this Court accept Perkins’s plea of

guilty to Count One of the Information.

      The magistrate judge remanded Defendant to the custody of the

United    States   Marshals    Service    pending   further    proceedings.

Defendant was released to long-term substance abuse treatment on

November 3, 2021.      [Dkt. No. 21].

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R.         He further advised that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R.          Neither Perkins nor the

Government filed objections to the R&R.

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      Accordingly, this Court ADOPTS the magistrate judge’s R&R

[Dkt. No. 19], provisionally ACCEPTS Perkins’s guilty plea, and

ADJUDGES him GUILTY of the crime charged in Count One of the

Information.

      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until

it has received and reviewed the presentence investigation report

prepared in this matter.

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

following:

      1.     The Probation Officer shall undertake a presentence

investigation of Perkins, and prepare a presentence investigation

report for the Court;

      2.     The Government and Perkins shall each provide their

narrative descriptions of the offense to the Probation Officer by

November 18, 2021;

      3.     The presentence investigation report shall be disclosed

to Perkins, his counsel, and the Government on or before January

17, 2020; however, the Probation Officer shall not disclose any

sentencing recommendations made pursuant to Fed. R. Crim. P.

32(e)(3);

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      4.    Counsel may file written objections to the presentence

investigation report on or before January 31, 2022;

      5.    The Office of Probation shall submit the presentence

investigation report with addendum to the Court on or before

February 14, 2022; and

      6.    Counsel may file any written sentencing memorandum or

statements     and     motions   for   departure   from    the   Sentencing

Guidelines, including the factual basis for the same, on or before

February 14, 2022.

      The Court further ORDERS that prior to sentencing, counsel

for Defendant review with him the revised Standard Probation and

Supervised Release Conditions adopted by this Court on November

29, 2016, pursuant to the standing order entered by Chief Judge

Groh, In Re: Revised Standard Probation and Supervised Release

Conditions, 3:16-MC-56.

      The Court will conduct the Sentencing Hearing for Perkins on

March 3, 2022, at 11:30 a.m., at the Clarksburg, West Virginia

point of holding court.          If counsel anticipates having multiple

witnesses    or   an   otherwise   lengthy   sentencing   hearing,    please

notify the Judge’s chamber staff so that an adequate amount of

time can be scheduled.

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          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

counsel of record and all appropriate agencies.

DATED: November 4, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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